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 4                                    UNITED STATES DISTRICT COURT
 5                                            DISTRICT OF NEVADA
 6
 7   UNITED STATES OF AMERICA,                 )
                                               )
 8                     Plaintiff,              )                        Case No. 2:14-cr-00399-KJD-GWF
                                               )
 9   vs.                                       )                        ORDER
                                               )
10   MARK L. BAUSCH,                           )
                                               )
11                     Defendant.              )
     __________________________________________)
12
13           This matter is before the Court on Defendant Mark L. Bausch’s letter to Judge Dawson (ECF
14   No. 324), filed on December 6, 2016.
15           Defendant addressed his letter dated December 5, 2016 to Judge Dawson. Based upon the
16   content of the letter, the Court instructs the Clerk of the Court to seal Defendant’s letter.
17   Accordingly,
18           IT IS HEREBY ORDERED that Defendant’s letter addressed to Judge Dawson (ECF No.
19   324) be sealed.
20           DATED this 14th day of December, 2016.
21
22                                                     ______________________________________
                                                       GEORGE FOLEY, JR.
23                                                     United States Magistrate Judge
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